       Case: 1:24-cv-04194 Document #: 61 Filed: 05/09/25 Page 1 of 5 PageID #:397




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 REGINALD CLAY,

         Plaintiff,                                   Case No. 1:24-cv-4194

 vs.                                                  District Judge Georgia N. Alexakis

 UNION PACIFIC RAILROAD COMPANY,                      Magistrate Judge Jeffrey N. Cole

         Defendant.


                                    JOINT STATUS REPORT

         Pursuant to this Court’s April 11, 2025, Order (Dkt. 57), Plaintiff Reginald Clay

(“Plaintiff”) and Defendant Union Pacific Railroad Company (“Union Pacific”), by and through

their undersigned counsel, respectfully submit this joint status report on their progress toward

meeting the June 6, 2025 deadline for completion of all non-expert fact discovery.

         1.      On April 17, 2024, Plaintiff filed a Complaint against Union Pacific alleging

violations of the Illinois Biometric Information Privacy Act (“BIPA”). Dkt. 1-1. On May 21, 2024,

Union Pacific removed the case to this Court. Dkt. 1, 7.

         2.      On September 27, 2024, Union Pacific filed an Answer and Defenses. Dkt. 31.

         3.      On November 4, 2024, Union Pacific filed a Motion for Partial Summary Judgment

or, in the Alternative, to Strike. Dkt. 37. Plaintiff filed a response in opposition to Union Pacific’s

motion on December 2, 2024. Dkt. 42. Union Pacific filed a reply on December 16, 2024. Dkt. 44.

The Court denied the Motion on April 10, 2025. Dkt. 55. On May 8, 2025, Union Pacific filed a

Motion to Certify the Court’s April 10, 2025 Order for Interlocutory Appeal. Dkt. 58.




                                                  1
    Case: 1:24-cv-04194 Document #: 61 Filed: 05/09/25 Page 2 of 5 PageID #:398




       4.      The parties propounded their First Sets of Discovery Requests and received the

opposing party’s responses and objections. Plaintiff propounded a Second Set of Discovery

Requests and received Union Pacific’s responses and objections.

       5.      On February 5, 2025, the parties’ counsel met to discuss the discovery responses

received to date.

       6.      On March 12, 2025, the parties submitted an Agreed Motion to Enter

Confidentiality Order. Dkt. 49. On March 13, 2025, the Court granted this motion and entered the

parties’ Agreed Confidentiality Order. Dkt. 53.

       7.      On March 26, 2025, the parties’ counsel met and conferred telephonically to discuss

the possibility of settlement and next steps regarding supplementation of Union Pacific’s discovery

responses.

       8.      On March 31, 2025, Union Pacific produced documents in response to Plaintiff’s

discovery requests.

       9.      On April 11, 2025, Union Pacific served its First Supplemental Responses to

Plaintiff’s Second Discovery Requests.

       10.     On April 18, 2025, Union Pacific produced additional documents in response to

Plaintiff’s discovery requests.

       11.     On May 6, 2025, Plaintiff served his Supplemental Responses to Defendant’s First

Set of Interrogatories.

       12.     On May 7, 2025, Union Pacific served its First Set of Requests for Admissions.

       13.     As stated above, on May 8, 2025, Union Pacific filed a Motion to Certify the

Court’s April 10, 2025 Order for Interlocutory Appeal. Dkt. 58.

       14.     The parties set forth their respective positions regarding the case schedule:



                                                  2
    Case: 1:24-cv-04194 Document #: 61 Filed: 05/09/25 Page 3 of 5 PageID #:399




        Plaintiff’s Position: Plaintiff intends to subpoena Universal Trucking and XPO Logistics

for additional documentation related to his entry and exit of the Union Pacific facilities. Based on

the contents of Union Pacific’s First Supplemental Responses and supplemental document

production, Plaintiff also intends to serve Union Pacific with his Third Discovery Requests.

Plaintiff believes this will be the final set of discovery requests issued. Last, Plaintiff intends to

notice 2 to 3 depositions. Accordingly, Plaintiff requests extending the current deadline for fact

discovery to be completed by 90 days to September 4, 2025. Plaintiff submits that Union

Pacific’s recent motion for interlocutory appeal is lacking in merit and opposes its request to stay

the matter pending resolution thereof.

        Union Pacific’s Position: Union Pacific requests that all case deadlines be stayed until

after the Court rules on Union Pacific’s motion seeking interlocutory appeal of the Court’s April

10, 2025 order (“Motion”). Dkt. 58. Union Pacific respectfully submits that if the Court and

Seventh Circuit grant Union Pacific’s request for interlocutory appeal, all case deadlines should

remain stayed until after a ruling from the Seventh Circuit. In its Motion, Union Pacific seeks

interlocutory appeal of whether the 2024 amendment to the Illinois Biometric Information

Privacy Act, 740 ILCS 14/1 et seq.—which limits a plaintiff to “one recovery” when a defendant

wrongfully collects their biometric identifier or information more than once using the same

method, see Ill. Public Act 103 0769—applies retroactively to pending cases. A ruling in Union

Pacific’s favor on this issue would materially shape the stakes of the case and thus the course of

this litigation, including further fact and expert discovery, summary judgment briefing, and

trial—as well as the prospects for settlement.




                                                   3
    Case: 1:24-cv-04194 Document #: 61 Filed: 05/09/25 Page 4 of 5 PageID #:400




Dated: May 9, 2025                                Respectfully submitted,

/s/ Alexandra Huzyk (with consent)                 /s/ Johanna Spellman___
Daniel A. Edelman                                  Sean M. Berkowitz
Dulijaza (Julie) Clark                             Gary Feinerman
Alexandra Huzyk                                    Johanna Spellman
EDELMAN, COMBS, LATTURNER                          Kathryn A. Running
& GOODWIN, LLC                                     LATHAM & WATKINS LLP
20 S Clark Street, Suite 1800                      330 N Wabash Avenue, Suite 2800
Chicago, IL 60603                                  Chicago, IL 60611
(312) 739-4200                                     sean.berkowitz@lw.com
(312) 419-0379 (FAX)                               gary.feinerman@lw.com
courtecl@edcombs.com                               johanna.spellman@lw.com
                                                   kathryn.running@lw.com

Counsel for Plaintiff                              Counsel for Union Pacific Railroad
                                                   Company




                                        4
    Case: 1:24-cv-04194 Document #: 61 Filed: 05/09/25 Page 5 of 5 PageID #:401




                                  CERTIFICATE OF SERVICE

          I, Johanna, Spellman, hereby certify that on May 9, 2025, I caused a copy of the

foregoing to be filed using the Court’s CM/ECF system, which provides service to all counsel of

record.



Dated: May 9, 2025                                    /s/ Johanna Spellman____
                                                      Johanna Spellman, One of the Attorneys for
                                                      Defendant Union Pacific Railroad Company
                                                      Johanna Spellman (Illinois Bar No.
                                                      6293851)
                                                      LATHAM & WATKINS LLP
                                                      330 North Wabash Avenue, Suite 2800
                                                      Chicago, Illinois 60611
                                                      Telephone: (312) 876-7700
                                                      Facsimile: (312) 993-9767
                                                      Email: johanna.spellman@lw.com




                                                  5
